         Case 1:21-cr-00179-RCL Document 105 Filed 05/24/23 Page 1 of 7




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                 :
UNITED STATES OF AMERICA                         :       Case No.: 21-cr-179 RCL
                                                 :
        v.                                       :
                                                 :
RACHEL POWELL,                                   :
                                                 :
        Defendant.                               :
                                                 :

   POWELL’S RESPONSE TO THE GOVERNMENT’S PROPOSED FINDINGS OF
                  FACT AND CONCLUSIONS OF LAW

        After Rachel Powell’s two-day bench trial concluded on May 10, 2023, the Court

directed the parties to confer with one another and file proposed findings of fact and conclusions

of law within two weeks. That is also what the Court ordered the parties to do after a bench trial

in United States v. Yoder, 21-cr-505-RCL. In Yoder, the parties complied with the Court’s order

and jointly filed proposed findings of fact. Id., ECF No. 60.

        Here, however, Powell’s attempts to comply with the Court’s order and coordinate with

the government were refused. In response to multiple defense requests, the government declined

to meet and confer with Powell’s counsel to discuss jointly filing proposed findings of fact and

conclusions of law.

        On May 19, for example, Powell’s counsel wrote to Lucy Sun, the government’s

attorney, and inquired whether the government planned on sending draft findings of fact and

conclusions of law to the defendant and her counsel. Powell noted it would be more efficient for

the parties to submit a joint filing, even if it were to reflect factual disputes, as the parties did in

Yoder. Ms. Sun responded: “We prefer to file our own. Thanks!”


                                                     1
         Case 1:21-cr-00179-RCL Document 105 Filed 05/24/23 Page 2 of 7




       On May 23, at 11:18 a.m., Powell again wrote to Ms. Sun. Powell noted that as the

defense did not put on a case it would be difficult for the defendant to propose findings of fact,

based on the government’s evidence, but without cooperation from the government. Powell

reiterated her request that the government at least share its draft proposed findings of fact.

Powell noted that, absent cooperation from the government, she would have to speculatively

reinvent the government’s case and wastefully file a second proposed set of factual findings that

may overlap significantly with the government’s.

       On May 24, at 10:35 a.m., Ms. Sun emailed a non-editable PDF document to Powell’s

counsel. Ms. Sun’s cover email stated, “[H]ere is what we have so far. Let us know if you want

to join our facts. I’m still working on the conclusions of law but doubtful you are joining on to

that so. . . .” Powell promptly responded by requesting a Word document, so that she could

propose edits to the government’s unfinished proposals. Ms. Sun responded neither to that

defense request nor to a follow-up email.

       Not hearing a response, Powell’s counsel called the government’s attorney the same

day—the day of the deadline set by the Court—in an attempt to meet and confer. Ms. Sun would

not take the phone call. Accordingly, around 2 p.m., Powell’s counsel again wrote to Ms. Sun:

       Hi Lucy [Sun]:

       I tried calling you but got your voicemail. As indicated, I believe the Court asked the
       parties to attempt to make a joint proposed findings of fact and conclusions of law
       filing. That is what the court instructed the parties to do in US v. Yoder, 21-cr-505-
       RCL. There, the parties were able to agree on most facts and submit a joint filing. The
       defendant submitted his own proposed conclusions of law.

       I would be grateful if one of you would return my phone call. Powell is attempting to
       cooperate on these issues with the government. She will otherwise have to advise the
       court that the defense was unable to confer with the government about a joint
       proposal. Is there some reason we cannot discuss this? Thank you.

5/24/22 email from Powell’s counsel to Lucy Sun.

                                                  2
         Case 1:21-cr-00179-RCL Document 105 Filed 05/24/23 Page 3 of 7




        Ms. Sun did not respond to Powell’s communication.

        At 9:00 p.m. on the day the parties’ proposed findings of fact and conclusions of law

were due, the government filed its proposals. ECF No. 104. The government had made no effort

to confer with Powell’s counsel before filing the proposals and ignored the efforts of defense

counsel to that end. Predictably, then, Powell’s counsel was forced to review the government’s

filing late in the evening on the day of the deadline to determine what objections and proposals

Powell must file to avoid prejudice to her case.

        Gamesmanship is never appropriate in litigation. But it is particularly misguided in a

criminal case where the life of the defendant—a mother and grandmother of 12 children and

grandchildren, who has experienced severe mental strain from her legal jeopardy—is hanging in

the balance. The government’s refusal to confer with Powell on a common set of facts after trial

is unjustified and deprives the defendant of a reasonable opportunity to comply with the Court’s

post-trial request.

        Powell notes the following disagreements with the government’s Proposed Findings of

Fact and Conclusions of Law. ECF No. 104.

        Paragraph 17. Exhibit 3.11, a video clip, showed that the Capitol Building room Powell

briefly entered, Senate Terrace 2, had only one door leading from the room to the rest of the

building. Witness McIntyre confirmed that the door was the only portal through which

protesters could conceivably enter the building proper. Exhibit 3.11 showed that when Powell

was inside Senate Terrace 2 the door was physically blocked off by a bookshelf. No evidence

showed Powell entering any other part of the building. No evidence showed that Senate Terrace

2 was used by Members of Congress, staff, or anyone else on January 6, 2021.




                                                   3
         Case 1:21-cr-00179-RCL Document 105 Filed 05/24/23 Page 4 of 7




       Paragraph 23. The government quotes a Facebook post by Powell: “I agree with the

possibility of civil war happening. I can see that too. Unfortunately the only way this is

probably capable of being fixed is bloodshed because I’m not so sure our government can be

fixed the political way anymore either.” However, this post predates the 2020 presidential

election by nearly a month. ECF No. 104, p. 8. Thus, as a matter of basic chronology, it cannot

demonstrate Powell’s post-election intentions on January 6, 2021.

       Paragraph 36. Special Agent Thomas testified that he did not see evidence indicating

whether the “go-bags” seized from Powell’s residence belonged to Powell or to someone else in

her family. He also testified that he saw no evidence indicating whether the “ammunition, duct

tape, knives, ninja stars, lighters,” ECF No. 104, p. 11, belonged to Powell or to someone else.

Similarly, Thomas testified that he did not see any evidence indicating whether the “four

smashed phones” found in Powell’s residence belonged to Powell. No evidence indicated that

any of these materials had anything to do with Powell’s conduct on January 6, 2021.

                   POWELL’S PROPOSED CONCLUSIONS OF LAW

               Count Two

       1.      Count Two of the Superseding Indictment charges Powell with corruptly

obstructing, influencing and impeding an official proceeding, that is, a proceeding before

Congress, specifically, Congress’s certification of the Electoral College vote as set out in the

Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18. 18 U.S.C. §

1512(c)(2). Count Two also charges the defendant with attempt to corruptly obstruct, influence

and impede an official proceeding. In order to find the defendant guilty of this offense, the

government must prove beyond a reasonable doubt that Powell: (1) attempted to or did obstruct

or impede an official proceeding; (2) intended to obstruct or impede the official proceeding; (3)


                                                 4
         Case 1:21-cr-00179-RCL Document 105 Filed 05/24/23 Page 5 of 7




acted knowingly, with awareness that the natural and probable effect of her conduct would be to

obstruct or impede the official proceeding; and (4) acted corruptly.

       2.      The government must also prove beyond a reasonable doubt that there was a

“nexus” between the defendant’s obstructive act and the official proceeding. See United States v.

Aguilar, 515 U.S. 593 (1995); United States v. Young, 916 F.3d 368 (4th Cir. 2019). On this

element, the government must prove that the defendant had in mind the specific official

proceeding charged in this case; here, Congress’s certification of the Electoral College vote.

E.g., United States v. Black, 21-cr-127-ABJ (D.D.C. 2021), Verdict Tr. at 28. It is insufficient

for the government to prove only that the defendant had in mind “simply some business of the

government, some business of the Congress, or the results of the election in general.” Id. at 29.

       3.       To prove the defendant acted “corruptly” beyond a reasonable doubt, the

government must establish that Powell acted with “the intent to procure a benefit which [she]

knows is unlawful.” United States v. Fischer, 64 F.4th 329, 352 (D.C. Cir. 2023) (Walker, J.,

concurring in part) (emphasis original); United States v. Worrell, 21-cr-292-RCL (D.D.C. 2021),

Oral Verdict, ECF No. 245 (applying in January 6 case the definition of “corruptly” outlined in

Judge Walker’s Fischer concurrence).

       4.      The government failed to prove two of the elements above, beyond a reasonable

doubt. First, the government failed to prove the nexus requirement of § 1512(c)(2) beyond a

reasonable doubt. It did not present sufficient evidence establishing that Powell understood that

on January 6, 2021 an official proceeding was transpiring in which Congress was engaged in

certification of the Electoral College vote. While the government’s evidence showed that Powell

appeared to believe that the 2020 presidential election was not “fair,” e.g., ECF No. 104, p. 10, it

does not establish beyond a reasonable doubt that Powell knew that Congress was engaged in a


                                                 5
         Case 1:21-cr-00179-RCL Document 105 Filed 05/24/23 Page 6 of 7




proceeding to count electoral votes on January 6, as opposed to “simply some business of the

government, some business of the Congress or the results of the election in general.” Black,

Verdict Tr. at 29.

       5.      Second, the government failed to prove that Powell acted “corruptly.” The

evidence did not establish beyond a reasonable doubt that the defendant acted to benefit herself

through her conduct on January 6, 2021, deplorable though it was in several respects. Rather, the

evidence showed that Powell acted out of a sincere belief, however misguided, that the 2020

presidential election had not been fairly or lawfully conducted.

       6.      To the extent the evidence showed that Powell’s actions on January 6, 2021 were

motivated by a desire to obtain a benefit for the former president—i.e., the former president’s

reelection—the government did not establish beyond a reasonable doubt that Powell knew that

such a benefit was “unlawful.” Fischer, 64 F.4th at 352. To the contrary, the government’s

evidence showed that Powell’s sincere belief, however misguided, was that the former president

had in fact prevailed in the 2020 election and therefore that, as she understood the matter, the

“benefit” she acted to obtain on his behalf was the lawful one. Accordingly, the government’s

evidence did not show beyond a reasonable doubt that Powell acted “corruptly,” even if it

showed she acted unlawfully in respect of other criminal offenses.

       7.      Therefore, the Court finds that the government has failed to meet its burden and

finds Defendant Powell NOT GUILTY on Count 2.

Dated: May 24, 2023                                   Respectfully submitted,

                                                     /s/ Nicholas D. Smith
                                                     Nicholas D. Smith (D.C. Bar No. 1029802)
                                                     1123 Broadway
                                                     Suite 909
                                                     New York, NY 10010
                                                     Phone: (917) 902-3869

                                                 6
        Case 1:21-cr-00179-RCL Document 105 Filed 05/24/23 Page 7 of 7




                                                   nds@davidbsmithpllc.com

                                                   Attorney for Rachel Powell


                                    Certificate of Service

       I hereby certify that on the 24th day of May, 2023, I filed the foregoing submission with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)

to the following CM/ECF user(s): Counsel of record.

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                   /s/ Nicholas D. Smith
                                                   Nicholas D. Smith (D.C. Bar No. 1029802)
                                                   1123 Broadway
                                                   Suite 909
                                                   New York, NY 10010
                                                   Phone: (917) 902-3869
                                                   nds@davidbsmithpllc.com

                                                   Attorney for Rachel Powell




                                               7
